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                               NORTHERN DISTRICT OF CALIFORNIA
18                                  SAN FRANCISCO DIVISION
19
     BMA LLC, Yaroslav Kolchin, Vitaly              Case No. 3:20-cv-03345-WHO
20   Dubinin, Dmitry Dolgov, and Păun Gabriel-
     Razvan,                                        (Consolidated Case Nos. 3:20-cv-07140-
21                                                  WHO and 3:20-cv-08034-WHO)
                      Plaintiffs,
22         v.                                       DEFENDANTS’ NOTICE OF
                                                    MOTION AND MOTION TO DISMISS
23   HDR Global Trading Limited (A.K.A.             PLAINTIFFS’ SECOND AMENDED
     BitMEX), ABS Global Trading Limited,           CONSOLIDATED COMPLAINT;
24   Arthur Hayes, Ben Delo, and Samuel Reed,       MEMORANDUM OF POINTS AND
                                                    AUTHORITIES IN SUPPORT
25                    Defendants.                   THEREOF
26                                                  Date:    August 25, 2021
                                                    Time:    2:00 p.m.
27                                                  Ctrm:    2 – 17th Floor
                                                    Judge:   Honorable William H. Orrick
28

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 1                                        NOTICE OF MOTION
 2          PLEASE TAKE NOTICE that at 2:00 p.m. on August 25, 2021, before the Honorable
 3   William H. Orrick, in Courtroom 2, 17th Floor, San Francisco Courthouse, 450 Golden Gate
 4   Avenue, San Francisco, California 94102, defendants HDR Global Trading Limited (“HDR”),
 5   ABS Global Trading Limited (“ABS”), Arthur Hayes, Ben Delo, and Samuel Reed (together,
 6   “Defendants”), will and hereby do move to dismiss the Second Amended Consolidated Complaint
 7   (ECF No. 153) pursuant to rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure on
 8   the grounds stated below.
 9          The Motion is based on this Notice of Motion, the Memorandum of Points and Authorities
10   in support of this Motion, the Proposed Order, Defendants’ Request for Judicial Notice, and the
11   Declaration of Stephen D. Hibbard filed concurrently herewith, the pleadings and records on file
12   in this action, and upon such other matters as may be presented to the Court at or prior to the
13   hearing on this Motion.
14                                        RELIEF REQUESTED
15          The Second Amended Consolidated Complaint should be dismissed pursuant to Federal
16   Rules of Civil Procedure 12(b)(1) and 12(b)(6).
17
      DATED: June 21, 2021                             Respectfully submitted,
18
                                                       JONES DAY
19

20
                                                       By: /s/ Stephen D. Hibbard
21                                                          Stephen D. Hibbard
22                                                     Counsel for Defendants
                                                       HDR GLOBAL TRADING LIMITED and
23                                                     ABS GLOBAL TRADING LIMITED
24

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 1    I.     INTRODUCTION
 2           Earlier this year, the Court granted a motion to dismiss by Defendants in a detailed, 31-
 3    page order, allowing Plaintiffs to re-plead if they could gather plausible facts sufficient to sustain
 4    their claims. See ECF No. 143 (the “Order”). Plaintiffs’ Second Amended Consolidated
 5    Complaint (“SACC”) shows that this Court was correct to be skeptical of Plaintiffs’ ability to do
 6    so given the numerous, dispositive problems with their lawsuit. Plaintiffs’ latest filing confirms
 7    this litigation is nothing more than a cryptocurrency strike suit that should be dismissed with
 8    prejudice.
 9           Plaintiffs did not heed the Court’s instruction “to allege only relevant facts and to avoid
10    conclusory assertions … connect[ing] the dots in their price manipulation theory.” Order 2.
11    Instead, yet at even greater length, Plaintiffs continue to traffic in rank speculation as they now
12    seek to alter fundamentally their core theory of liability. After repeating their deficient, prior
13    market manipulation claims (still predicated on conclusory and naked “information and belief”
14    allegations), Plaintiffs claim—for the first time—that they were fraudulently induced to trade on
15    BitMEX through misrepresentations on BitMEX’s website.
16           The new allegations are no more plausible than the old ones. As with Plaintiffs’ prior
17    market manipulation theory, Plaintiffs’ new misrepresentation theories not only are unsupported
18    by any plausible facts, but also are expressly contradicted by Plaintiffs’ own pleadings, the
19    sources upon which Plaintiffs rely, or other judicially noticeable materials. In fact, by now
20    alleging that purported misrepresentations on the BitMEX website regarding its high liquidity
21    fraudulently induced them to deposit bitcoin on BitMEX, Plaintiffs fundamentally undermine
22    their price manipulation theory, which is premised on BitMEX having high liquidity. And
23    Plaintiffs’ supposed “smoking gun” allegations offered to support their claim that the BitMEX
24    Terms of Service misrepresented the nature of HDR’s internal trading arm show only that
25    Plaintiffs have no basis for making any of the core allegations underlying their lawsuit.
26           After nine separate iterations of the operative complaint, Plaintiffs have alleged little more
27    than that they lost bitcoin on leveraged trading positions when their predictions proved
28    unsuccessful. (And Plaintiff BMA’s allegations remain lacking on even this basic point.) No
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 1    amount of internet scouring by Plaintiffs’ counsel can fill in the numerous, dispositive gaps that
 2    exist in all of Plaintiffs’ claims. It is time this baseless and harassing lawsuit is brought to an end.
 3    II.    STATEMENT OF THE ISSUES
 4           1.      Whether Plaintiffs’ fraud claims—and thus, nearly the entirety of Plaintiffs’
 5    complaint—fail when the SACC lacks any plausible facts establishing that Defendants engaged in
 6    any fraudulent conduct, let alone that Plaintiffs relied on that conduct to their detriment?
 7           2.      Whether Plaintiffs lack constitutional standing when they allege no plausible facts
 8    tying their purported bitcoin losses to any allegedly fraudulent conduct by Defendants?
 9           3.      Whether Plaintiffs fail to adequately plead federal Racketeer Influenced and
10    Corrupt Organizations Act (“RICO”) and Commodity Exchange Act (“CEA”) claims when the
11    SACC does not remedy the multiple, dispositive defects identified by this Court’s prior order?
12           4.      Whether Plaintiffs fail to adequately plead state law claims when Plaintiffs offer
13    no plausible allegations setting forth prima facie violations of any of those laws?
14    III.   RELEVANT BACKGROUND
15           A.      The Court Grants Defendants’ Motion To Dismiss Plaintiffs’ Consolidated
                     Complaint On Multiple, Independent Grounds.
16

17           The SACC marks Plaintiffs’ latest attempt to plead CEA, RICO, and California claims
18    relating to the ownership and operation of the “popular cryptocurrency derivatives exchange
19    platform … BitMEX.” SACC ¶ 1. Plaintiff BMA filed this lawsuit in May 2020 against
20    corporate defendants HDR; HDR’s co-founders Hayes, Delo, and Reed; and HDR’s wholly-
21    owned subsidiary, ABS. ECF No. 1. In the months that followed, BMA twice amended the
22    complaint to add new plaintiffs and allegations (ECF Nos. 6, 32), Defendants moved to dismiss
23    (ECF No. 42), Plaintiffs mooted that motion with further attempted amendments (ECF Nos. 45,
24    73-2), and Plaintiffs’ counsel filed several similar lawsuits on behalf of additional plaintiffs.
25    After this Court consolidated all of these lawsuits (see ECF Nos. 94 & 98), Plaintiffs finally
26    settled on a 237-page, 618-paragraph, 18-exhibit Consolidated Complaint (“CC”) asserting
27    myriad claims against the aforementioned corporate defendants and three of Defendant Reed’s
28    family members. ECF No. 97. All of those claims were predicated on Plaintiffs’ assertions,
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 1    made on “information and belief,” that the corporate defendants manipulated the price of
 2    cryptocurrency derivatives by trading on other cryptocurrency platforms when Plaintiffs claimed
 3    to have suffered trading losses on BitMEX.
 4           On March 12, 2021, this Court granted Defendants’ motion to dismiss the CC, finding that
 5    Plaintiffs’ complaint was fatally deficient in multiple respects. First, the Court held that Plaintiffs
 6    “fail[ed] to plausibly explain how the defendants have harmed them.” Order 1. The Court
 7    observed that the CC “waste[d] much space describing other actions brought against defendants,”
 8    id., but when it came to Plaintiffs’ core theory—that Defendants engaged in “price manipulation”
 9    to Plaintiffs’ detriment—“[t]he limited allegations plaintiffs offer … are all alleged on
10    information and belief, with no explanation of the basis for such beliefs or facts that would make
11    their allegations plausible.” Id. at 1–2; see also id. at 9–15 (detailing the implausibility of
12    Plaintiffs’ allegations). As the Court explained, “[a]bsent additional facts rendering plaintiffs’
13    beliefs plausible, the allegations fail under Rule 8, let alone under Rule 9(b).” Id. at 10.
14           While Plaintiffs’ failure to allege plausible facts supporting their price manipulation
15    theory alone “doom[ed] [Plaintiffs’] Complaint,” the Court also found that “plaintiffs fail[ed] to
16    sufficiently plead the elements of each claim and their standing to bring them.” Id. at 2. In
17    particular, all Plaintiffs lacked both Article III and statutory standing because they failed to plead
18    plausible facts establishing that their “claimed losses are ‘fairly traceable’ to defendants’ alleged
19    conduct.” Id. at 16 (Article III); see also id. at 16–18 (statutory standing). Plaintiff BMA—an
20    entity created by Plaintiffs’ counsel—also lacked Article III standing for the independent reason
21    that Plaintiffs failed to satisfy their burden of proving that “BMA is seeking to vindicate its own
22    rights, instead of those of its members.” Id. at 16. Further, the Court held that Plaintiffs’ RICO
23    claims failed for the additional reasons that Plaintiffs did not plead plausible facts establishing
24    (i) the existence of an “enterprise” distinct from the “corporate owners and officers of BitMEX,”
25    or (ii) that Defendants committed wire fraud or any other RICO predicate. Id. at 18–21.
26    Plaintiffs’ CEA claims likewise failed because Plaintiffs did not plead plausible facts establishing
27    that Defendants (i) engaged in “manipulation” prohibited by the CEA, (ii) “specifically intended
28    to cause the artificial prices,” or (iii) “aided and abetted any market manipulation” by a third-
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 1    party trader known as Quick-Grove-Mind. Id. at 21–24.
 2           As for Plaintiffs’ state-law claims, the Court held that Plaintiffs “fail[ed] to establish
 3    causation or adequately plead the existence of a ‘special relationship’ giving rise to an actionable
 4    duty of care,” as required for their negligence claim. Id. at 24–27. The Court dismissed
 5    Plaintiffs’ fraud claim because “the Complaint fail[ed] to allege plausible facts with respect to
 6    defendants’ false representation and intent to defraud, particularly when the allegations are held
 7    up against Rule 9(b)’s more stringent standards,” and “fail[ed] to specifically allege plaintiffs’
 8    ‘justifiable reliance’ on a misrepresentation by defendants.” Id. at 27. Plaintiffs’ conversion
 9    claim similarly failed because Plaintiffs’ “[a]llegations that defendants unlawfully dispossessed
10    them of their property rely entirely on the fraud-based market manipulation allegations that
11    plaintiffs have failed to plead with particularity.” Id. at 29. And in the absence of a viable prima
12    facie direct tort claim, Plaintiffs’ remaining claims—for violating California’s Unfair
13    Competition Law (“UCL”), for aiding and abetting fraud and conversion, for violating California
14    Penal Code § 496, and for civil conspiracy, unjust enrichment, constructive trust, and
15    accounting—failed as well. Id. Each of those rulings accords with the February 25, 2021
16    decision of Judge Massullo of the San Francisco County Superior Court sustaining the demurrer
17    to a complaint (also filed by Plaintiffs’ counsel) asserting the same California claims predicated
18    on substantially similar allegations against Defendants HDR, ABS, and Hayes. Kanyshev v. HDR
19    Global Trading Ltd., No. CGC-20-584483 (Cal. Super. Ct. Feb. 25, 2021) (“Kanyshev Order”).
20           B.      This Court Affords Plaintiffs Leave To Amend Based On Their
                     Representation That They Could “Allege More Facts, Including Expert
21                   Reports” In Support Of Their Price Manipulation Theories.
22           After finding that each and every one of the 17 causes of action asserted in Plaintiffs’ CC
23    was quadruply deficient—due to implausibility, lack of Article III standing, lack of statutory
24    standing, and failure to allege a prima facie claim—this Court granted Plaintiffs “leave to amend
25    to the extent that they have a good faith basis to do so.” Order 30. The Court did so following
26    Plaintiffs’ counsel’s representations that Plaintiffs had received “‘substantial additional
27    information relevant to this case’ … from a ‘former high-ranking employee of Defendant HDR,”
28    and “that they can better explain the basis of their alleged price manipulation scheme and support
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 1    it with reports from experts who would look at the data and say to a high degree of certainty as to
 2    what happened.” Id. at 29–30; see also ECF No. 138 (motion for leave to amend).
 3           In granting leave to amend, however, the Court provided guidance: “[P]laintiffs must
 4    keep their focus on how defendants have harmed them and explain why their theory of price
 5    manipulation is plausible” instead of Plaintiffs’ previous “kitchen sink approach.” Order 30
 6    (noting that Plaintiffs’ sprawling pleadings “frustrate Rule 8’s objective”). The Court further
 7    instructed Plaintiffs to “allege facts that show what that defendant did and how that establishes
 8    elements of a claim.” Id. That directive applied with particular force to Plaintiffs’ claims
 9    grounded in fraud, which require Plaintiffs to “‘state with particularity the circumstances
10    constituting fraud or mistake, including the ‘who, what, when, where, and how of the misconduct
11    charged.’” Id. at 8, 27 (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir.
12    2003)). “For allegations made on information and belief, [Plaintiffs] must allege with
13    particularity all facts upon which their belief is based.” Id. at 30.
14           C.      Plaintiffs File An Even Longer Amended Consolidated Complaint That Fails
                     To Remedy The Numerous Problems Identified In The Court’s Order.
15

16           Plaintiffs ignored the Court’s guidance altogether when they filed their 328-page, 895-
17    paragraph, 20-exhibit Corrected Amended Consolidated Complaint (“CACC”) on May 5, 2021.
18    ECF No. 150. 1 As before, Plaintiffs’ CACC takes a “kitchen sink approach” to pleading,
19    retaining scores of the paragraphs and exhibits from the CC—including those regarding “other
20    actions brought against defendants”—that this Court deemed a “waste [of] space.” Order 1, 3 n.2,
21    30; cf., e.g., CACC Ex. 4 (DOJ indictment); CACC Ex. 5 (CFTC complaint); CACC ¶¶ 2, 11, 12,
22    13, 24, 451, 454, 456, 458, 470, 481 (discussing same). In fact, the CACC adds nearly 100
23    paragraphs (CACC ¶¶ 229–315) copied almost verbatim from an amended complaint filed by
24    other counsel in the CEA class action pending in Messieh v. HDR Global Trading Ltd., No. 1:20-
25    cv-03232, ECF No. 53, ¶¶ 65–154 (S.D.N.Y. Feb. 12, 2021). 2
26
             1
               Plaintiffs titled this the “Corrected Amended Consolidated Complaint” to distinguish it
27    from an “Amended Consolidated Complaint” filed a few hours earlier. See ECF No. 149.
             2
28             Plaintiffs’ insistence on “copying and pasting of allegations from one complaint to
      another,” of course, “is disfavored … and undermines [their] claims for relief.” Parker v. Iolo
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 1           Yet nowhere in the hundreds of pages and paragraphs added in the CACC do Plaintiffs
 2    include an “expert report,” “additional information relevant to this case … from a former high-
 3    ranking employee of Defendant HDR,” or any other facts on which Plaintiffs premised their
 4    request for leave to amend to “explain why their theory of price manipulation is plausible.” Order
 5    30. In fact, although the CACC repeats Plaintiffs’ previously central allegations that Defendants
 6    harmed Plaintiffs by engaging in price manipulation, that theory is no longer the focus of the
 7    CACC. Instead, Plaintiffs now ground nearly their entire lawsuit in a new theory, predicated on
 8    new allegations, that “Defendants deliberately designed their cryptocurrency derivatives
 9    exchange platform BitMEX … to fraudulently induce unsuspecting victims to deposit their
10    bitcoins with Defendants” by “engag[ing] in fraudulent solicitation using a laundry list of material
11    misrepresentations, half-truths and omissions.” E.g., CACC ¶ 3.
12           Specifically, Plaintiffs assert that various representations in the BitMEX Terms of Service
13    (regarding Defendants’ purported trading activities) and on the BitMEX website (regarding the
14    platform’s “Bitcoin / USD liquidity”) were false, and that Plaintiffs relied upon these purported
15    misrepresentations when depositing bitcoin to trade on BitMEX. Plaintiffs claim that because of
16    those misrepresentations, Plaintiffs suffered both trading losses and two previously unmentioned
17    categories of damages: (1) “loss of use” damages from Plaintiffs’ purported inability to deposit
18    their bitcoin “in interest-bearing accounts,” id. ¶ 504, and (2) “trading commissions damages”
19    allegedly suffered from executing trades—including profitable ones—on BitMEX, id. ¶ 506.
20           D.      Plaintiffs Amend Yet Again To Delete Now-Inconvenient Allegations And To
                     Add Irrelevant New Ones.
21
             Immediately upon filing the CACC, Plaintiffs’ counsel informed Defendants that
22
      Plaintiffs intended to amend their complaint yet again, and continued to propose additional
23
      “tweaks” in the following weeks. ECF No. 151. To expedite the final resolution of this case,
24
      Defendants stipulated to the filing of the SACC. Id.; see also ECF No. 153 (SACC).
25

26    Techs, LLC, No. CV 12-00984, 2012 WL 4168837, at *3 (C.D. Cal. Aug. 20, 2012); see also
      Molina v. City of Maywood, No. CV 08-3105, 2008 WL 4057105, at * 2 (C.D. Cal. Aug. 27,
27    2008) (“[T]he fact that Plaintiff’s counsel has cut and pasted the same insufficient allegations in
      all nine of the related Maywood cases, without tailoring any of them to the unique facts of each
28    case, completely undermines the credibility and genuine nature of his client’s claims.”).
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 1           But the SACC, like the CACC, does not include an “expert report,” “additional
 2    information relevant to this case … from a former high-ranking employee of Defendant HDR,” or
 3    other allegations establishing “why [Plaintiffs’] theory of price manipulation is plausible.” Order
 4    30. To the contrary, the SACC confirms that Plaintiffs have no basis for suing Defendants,
 5    whether under a price manipulation theory, their new fraudulent inducement theory, or otherwise.
 6           For instance, the SACC simply deletes the phrase “Plaintiffs are informed and believe”
 7    from dozens of paragraphs, without adding any new allegations or otherwise explaining why
 8    Plaintiffs suddenly claim to have personal knowledge of their allegations. See Hibbard Decl., Ex.
 9    A (Redline between FACC and SACC) ¶¶ 351, 358, 362, 378–82, 385, 392–95, 399, 406–09,
10    412, 415, 423, 424, 428, 429, 433–36, 439–42, 444–46, 474, 653, 655–57, 728–32, 734, 735.
11    Moreover—contrary to their representations that Plaintiffs received information “from a former
12    high-ranking employee of Defendant HDR”—the SACC no longer claims that Plaintiffs’
13    remaining “information and belief” allegations are based upon “information provided by
14    employees of Defendants.” Id. ¶¶ 448, 451, 454, 458. And directly contradicting their
15    allegations that “only Defendants” could benefit from market manipulation, cf. SACC ¶ 483,
16    Plaintiffs add new allegations based upon a tweet from May 2020 that a now-deceased third party
17    named “Ben Aabtc ‘pumped’ bitcoin market price … on ‘reference’ spot exchanges while
18    maintaining an open $30,873,844 Perpetual Swap position in his winner account on BitMEX.”
19    Id. ¶ 469; id. ¶¶ 466–70. That third-party conduct, however, is alleged to have occurred in April
20    and May 2018—months before any Plaintiff claims to have deposited bitcoin with BitMEX, id.
21    ¶¶ 511–12. While Plaintiffs claim that Defendants “aided and abetted” that purported conduct,
22    Plaintiffs offer only an undated photograph that Plaintiffs claim shows the individual Defendants
23    and “Ben Aabtc” together. Id. ¶ 466.
24           On the basis of both these new theories and the already-rejected allegations repeated in the
25    SACC, Plaintiffs assert thirty-three causes of action under the CEA (Counts I-VIII), RICO
26    (Counts IX-XIV), California’s False Advertising Law (“FAL”) (Count XXI), Consumers Legal
27    Remedies Act (“CLRA”) (Count XXII), UCL (Counts XXIII-XXV), and California common law
28    (Counts XV-XVIII (Fraud), Counts XIX-XX (Negligent Misrepresentation), Count XXVI
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 1    (Negligence), Count XXVII (Restitution), Count XXVIII (Constructive Trust), Count XXIX
 2    (Accounting), Counts XXX-XXXIII (Conversion, Replevin, and Cal. Pen. Code § 496)).
 3    IV.    ARGUMENT
 4           Despite adding nearly 100 pages to the CC and fundamentally altering Plaintiffs’ core
 5    theory of fraud, the SACC falls far short of satisfying the Ninth Circuit’s pleading requirements.
 6    Plaintiffs still have not alleged any plausible facts establishing that Defendants engaged in any
 7    fraudulent conduct, whether by engaging in market manipulation (as Plaintiffs initially claimed)
 8    or by fraudulently inducing Plaintiffs to trade via alleged misrepresentations (as Plaintiffs now
 9    assert). See infra Part IV.A. Moreover, as before, Plaintiffs lack standing to bring any of their
10    claims, as they fail to adequately plead that any purported misrepresentations (or any other
11    alleged conduct by Defendants) caused the losses they now claim. See infra Part IV.B. And in
12    all events, Plaintiffs’ SACC remains devoid of the facts necessary to establish a prima facie claim
13    under any pleading standard, let alone under the heightened pleading requirements applicable to
14    nearly all of Plaintiffs’ claims. See infra Parts IV.C-IV.D.
15           A.      Plaintiffs’ Core Misconduct Allegations Still Fail to State a Claim.
16           Plaintiffs still fail to allege plausible facts to support that Defendants engaged in
17    fraudulent conduct causing Plaintiffs’ alleged bitcoin losses. For Plaintiffs to survive a motion to
18    dismiss, they “must allege ‘enough facts to state a claim to relief that is plausible on its face.’”
19    Order 8 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). That baseline standard
20    demands “more than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting
21    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). To satisfy Rule 8, the plaintiff must “plead[] facts
22    that ‘allow the court to draw the reasonable inference that the defendant is liable for the
23    misconduct alleged.’” Id. (quoting Ashcroft, 556 U.S. at 678).
24           More is required where, as here, a plaintiff brings claims sounding in fraud. Under Rule
25    9(b), “a party must ‘state with particularity the circumstances constituting fraud or mistake,’
26    including ‘the who, what, when, where, and how of the misconduct charged.’” Order 8 (quoting
27    Vess, 317 F.3d at 1106). Plaintiffs must make these allegations as to each defendant: “Rule 9(b)
28    does not allow a complaint to merely lump multiple defendants together but requires plaintiffs to
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 1    differentiate their allegations when suing more than one defendant … and inform each defendant
 2    separately of the allegations surrounding his alleged participation in the fraud.” Swartz v. KPMG
 3    LLP, 476 F.3d 756, 764–65 (9th Cir. 2007). “[G]eneral allegations that the ‘defendants’ engaged
 4    in fraudulent conduct’ with only specific allegations as to some, ‘patently fail[s] to comply with
 5    Rule 9(b).’” Calderon v. Total Wealth Mgmt., Inc., No. 3:15-cv-01632, 2018 WL 1621397, at *2
 6    (S.D. Cal. Apr. 4, 2018) (quoting Swartz, 476 F.3d at 765).
 7           When determining whether a complaint satisfies those standards, a “court is not required
 8    to accept as true ‘allegations that are merely conclusory, unwarranted deductions of fact, or
 9    unreasonable inferences.’” Order 8 (quoting In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055
10    (9th Cir. 2008)). Nor is a court “‘required to accept as true conclusory allegations which are
11    contradicted by documents referred to in the complaint’ or documents that are proper subjects of
12    judicial notice.” Laws. Funding Grp., LLC v. Dale Alan Harris, Esq., No. CV 15-04059, 2015
13    WL 13298145, at *5 (C.D. Cal. Sept. 18, 2015) (quoting Steckman v. Hart Brewing Inc., 143 F.3d
14    1293, 1295–96 (9th Cir. 1998)). 3 And a plaintiff cannot avoid the requirements of Rule 8 (let
15    alone of Rule 9(b)) by adding the phrase “information and belief” to otherwise conclusory
16    allegations. “For allegations made on information and belief, [plaintiffs] must allege with
17    particularity all facts upon which their belief is based.” Order 30.
18           Finally, where, as here, a plaintiff seeks to amend a complaint in response to an order
19    granting a motion to dismiss, the “amended complaint may only allege other facts consistent with
20    the challenged pleading.” Reddy v. Litton Indus., Inc., 912 F.2d 291, 296–97 (9th Cir. 1990); see
21    also Airs Aromatics, LLC v. Opinion Victoria’s Secret Stores Brand Mgmt., Inc., 744 F.3d 595,
22    600 (9th Cir. 2014) (“A party cannot amend pleadings to directly contradict an earlier assertion
23    made in the same proceeding.”). 4 At a minimum, “a court may look to prior pleadings in
24
             3
                Even “if a document is not attached to a complaint,” if a “plaintiff refers extensively to
25    the document or the document forms the basis of the plaintiff’s claim,” the “defendant may offer
      such a document” and the district court may consider it on a motion to dismiss. United States v.
26    Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
              4
27              Defendants acknowledge that there is “intra-circuit confusion” as to whether a plaintiff
      can “amend his complaint to allege facts that contradict factual allegations in prior complaints.”
28    Byers v. Maricopa Cnty. Corr. Health Servs., No. CV1804243, 2020 WL 1000048, at *2 (D.
      Ariz. Mar. 2, 2020). Defendants respectfully submit that Reddy was correctly decided, and that
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 1    determining the plausibility of an amended complaint.” Royal Primo Corp. v. Whitewater W.
 2    Indus., Ltd., No. 15-cv-04391, 2016 WL 1718196, at *3 (N.D. Cal. Apr. 29, 2016).
 3           These standards must be applied with an eye to Plaintiffs’ repeated representations (in
 4    both signed pleadings governed by Rule 11 (ECF No. 138) and in open court) that they could
 5    provide facts to support their insufficient “information and belief” allegations that Defendants
 6    manipulated the price of cryptocurrency derivatives to Plaintiffs’ detriment. See Order 1–2, 29–
 7    30. None of that promised “substantial information” appears in the SACC. In fact, while the
 8    SACC repeats Plaintiffs’ prior “information and belief” allegations that (1) one Defendant
 9    executed unspecified trades on other cryptocurrency exchanges, and (2) Defendants sent
10    unidentified ‘wire communications’ at the exact dates and times that Plaintiffs claim the price of
11    cryptocurrencies and derivatives were “manipulated” to Plaintiffs’ detriment, see SACC ¶¶ 342,
12    448; see also infra Part IV.A.1, those allegations are no longer the focus of Plaintiffs’ lawsuit.
13    Instead, Plaintiffs now primarily assert that Defendants harmed them by inducing them to trade
14    via misrepresentations on the BitMEX website, including in the BitMEX Terms of Service.
15           Even if Plaintiffs’ about-face were a legitimate pleading tactic—and it is not—Plaintiffs
16    do not offer any plausible facts establishing that Defendants engaged in any fraudulent conduct
17    that caused Plaintiffs’ bitcoin losses. To the contrary, documents integral to Plaintiffs’ complaint
18    and other judicially noticeable documents confirm that Plaintiffs’ new fraudulent inducement
19    allegations are entirely implausible, and that the SACC is merely a cryptocurrency strike suit.
20                   1.      Plaintiffs Still Do Not Allege Any Plausible Facts Supporting Their
                             Previously Rejected Market Manipulation Theory.
21

22           The Court dismissed Plaintiffs’ CC because (among other reasons) Plaintiffs failed to
23    allege plausible facts to support their core theory of misconduct: “that one defendant executed
24    trades on other cryptocurrency platforms as part of an intricate market manipulation conspiracy
25    on the exact dates that plaintiffs suffered their losses.” Order 9. In doing so, the Court rejected
26    Plaintiffs’ claim that “information regarding whether defendants traded to plaintiffs’ detriment is
27

28    applying that decision is particularly appropriate under the circumstances here.
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 1    peculiarly within the possession and control of the defendants,” noting that publicly available
 2    information on third-party cryptocurrency exchanges Kraken and Bitstamp “could be part of the
 3    ‘something more’ [plaintiffs] need for their information and belief allegations.” Id. at 10, 11.
 4    The Court also disagreed that Plaintiffs’ so-called “means, motive, and opportunity” allegations
 5    provided a basis for their core allegations made on “information and belief” regarding
 6    Defendants’ purported misconduct, holding that such allegations, “without more, [are] not enough
 7    to cross the plausibility line.” Id. at 14–15. Absent factual allegations tying Defendants’ alleged
 8    “bad acts” to “the alleged market manipulation theory at hand,” this Court held that Plaintiffs’ CC
 9    amounted to nothing more than “rank speculation.” Id. at 11, 14.
10           Nothing in Plaintiffs’ SACC remedies those dispositive defects. Although Plaintiffs have
11    altered their core fraud theories (discussed below in Part IV.A.2), as before, the SACC alleges on
12    “information and belief” that Defendants caused Plaintiffs’ losses “by using helper accounts on
13    United States based ‘reference’ spot exchanges Kraken, Coinbase and Bitstamp, to place large
14    market orders on those exchanges with maximum slippage to cause large artificial moves in the
15    .BXBT index price and .BETH index price on a daily basis, resulting in liquidation of retail
16    traders and profit for BitMEX.” 5 SACC ¶ 448; see also SACC ¶ 342 (summarizing the
17    “individual roles of all Defendants within the Enterprise” in the purported market manipulation
18    scheme in a table “prepared according to information and belief”). And as before, Plaintiffs
19    allege “on information and belief” that Defendants engaged in this conduct during “specific
20    manipulation times,” which include the dates that each Plaintiff claims to have suffered trading
21    losses. SACC ¶ 448. For that purported “market manipulation,” Plaintiffs continue to assert a
22    series of claims under the CEA, RICO, and California law. See, e.g., SACC Counts IV-VIII
23    (CEA); IX-X (RICO); XXVI-XXVIII (Conversion, Replevin, and Cal. Penal Code § 496 claims).
24
             5
                Plaintiffs previously claimed that one of the individual defendants, Mr. Reed, executed
25    these trades on Defendants’ behalf. Order 9. Plaintiffs have abandoned that allegation in the
      SACC, now claiming instead that they are “informed and believe” that “BitMEX” (e.g., SACC
26    ¶¶ 17, 173, 414) or Mr. Reed (e.g., SACC ¶ 328) developed automated trading software which
      Defendants then used to execute the trades that Plaintiffs claim (still on “information and belief”)
27    caused their losses. SACC ¶¶ 328, 414. That unexplained shift signifies all the more that
      Plaintiffs are simply continuing to speculate about their bitcoin losses in a transparent effort to
28    survive a motion to dismiss.
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 1           Yet, as before, Plaintiffs offer no facts, let alone facts pled with the requisite particularity,
 2    providing the basis for their belief that Defendants executed trades via other cryptocurrency
 3    exchanges on June 27, 2019, July 14, 2019, November 14, 2018, and November 25, 2018 that
 4    caused Plaintiffs’ purported losses on BitMEX. Cf. Order 30. Nowhere in the SACC do
 5    Plaintiffs include the publicly accessible “time and sales data” from other cryptocurrency
 6    exchanges that this Court noted may assist Plaintiffs in grounding “their information and belief
 7    allegations.” Id. at 11. Nor does the SACC offer any other “additional information” which
 8    Plaintiffs represented could “cure the deficiencies identified in this order.” Id. at 30. Indeed, the
 9    SACC lacks any allegations predicated on disclosures “from a former high-ranking employee of
10    Defendant HDR” tying trades on other platforms to Plaintiffs’ losses, or “reports from experts”
11    examining “the data” and concluding “to a high degree of certainty as to what happened”—the
12    very sources of information that Plaintiffs claimed entitled them to further amend their complaint.
13    Id. In fact, the SACC deletes Plaintiffs’ allegations made in their CACC that Plaintiffs’
14    “information and belief” claims are “formed based on … information provided by former
15    employees of Defendants.” Cf. Hibbard Decl., Ex. A ¶¶ 451, 454, 458; see also id. (deleting
16    former footnote 15, which asserted that Plaintiffs’ allegations “are based on the very detailed
17    information about the daily operations of the Insider Trading Desk recently provided by the
18    former employees of Defendants”).
19           Instead, the SACC largely leaves the CC’s “information and belief” allegations
20    unchanged, adding only a few conclusory assertions that still fail to “allege with particularity all
21    facts upon which [Plaintiffs’] belief is based.” Order 30. For instance, Plaintiffs assert that their
22    “information and belief” allegations regarding Defendants’ purported price manipulation on the
23    specific days Plaintiffs claim to have suffered losses are “formed based on public records, public
24    court records, U.S. DOJ indictment of Defendant[s] Hayes[, Delo, and Reed], CFTC civil
25    complaint against Defendants, and crypto market data analysis.” SACC ¶¶ 342, 451, 454, 458.
26    Those statements are entirely conclusory. They are also simply a repackaging of the “means,
27    motive, and opportunity” argument that Plaintiffs offered in support of their “information and
28    belief” allegations in the CC —an argument which both this Court and Judge Massullo already
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 1    rejected as insufficient to satisfy baseline pleading standards. Order 9–15; Kanyshev Order 9.
 2            Plaintiffs also allege in footnote 16 that “[b]ecause traders trading millions of dollars are
 3    very sophisticated, these market orders were used for purposes of market manipulation on
 4    BitMEX,” which in turn “forms the basis for Plaintiffs’ belief as to the specific manipulation
 5    dates and times listed in the table.” SACC ¶ 448 n.16. That is the definition of a “conclusory,
 6    unwarranted deduction[] of fact” that falls well short of the heightened pleading requirements
 7    applicable here. Order 8. And while Plaintiffs assert that “only Defendants were able to open
 8    sufficiently large ($100,000,000+) trading positions on BitMEX in order to capture the
 9    manipulation profits,” SACC ¶ 483(e), Plaintiffs offer no plausible facts in support of that
10    statement. Contradicting themselves, Plaintiffs allege that third parties “Ben Aabtc” and “Quick
11    Grove Mind” manipulated the price of cryptocurrencies on other exchanges and “capture[d] the
12    manipulation profits” in their own BitMEX accounts. SACC ¶¶ 346, 467–70 (“Ben Aabtc”); id.
13    ¶¶ 19, 465, 487, 643 (“Quick-Grove-Mind”). 6 And Plaintiffs acknowledge that other individuals
14    and entities executed trades on BitMEX netting them tens of millions of dollars in profits. SACC
15    ¶ 124 (alleging that third parties “generated almost $70,000,000 in trading profits on Defendants’
16    BitMEX platform”); SACC ¶¶ 463, 486 (purporting to show BitMEX’s “Leaderboard” from
17    August 2, 2020 reflecting multiple users with trading profits exceeding tens of millions of
18    dollars).
19            To the extent Plaintiffs’ changes in the SACC establish anything, it is that Plaintiffs have
20    no basis for claiming that Defendants damaged them by trading to Plaintiffs’ detriment on
21    specific dates. That is apparent from Plaintiffs’ systematic deletion in the SACC of the phrase
22    “informed and believe” from allegations made in the CACC. See supra Part III.D. And it is
23

24            6
               As with the CC, Plaintiffs continue to “make several contradictory allegations regarding
      the identity of Quick-Grove-Mind.” Order 6 n.3. At the beginning of the SACC, Plaintiffs allege
25    that they are “informed and believe” that “Quick-Grove-Mind was a market manipulation winner
      account used by one of the individual Defendants Hayes, Delo or Reed.” SACC ¶ 19. Later,
26    however, Plaintiffs allege that Quick-Grove-Mind is a third party manipulator whom Defendants
      purportedly enabled by “providing the manipulator under the assumed name Quick-Grove-Mind
27    with extremely high trading leverage.” SACC ¶ 643. That Plaintiffs still have not clarified their
      allegations regarding Quick-Grove-Mind’s identity is yet further evidence that the SACC is little
28    more than blind speculation.
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 1    confirmed by Plaintiffs’ addition of what they claim to be “‘smoking gun’ evidence” of
 2    Defendants’ supposed market manipulation—allegations derived from a May 2020 tweet that a
 3    third party, “Ben Aabtc” (whose real name Plaintiffs do not know) manipulated bitcoin market
 4    prices in April and May 2018, months before any Plaintiff traded on BitMEX. Those allegations
 5    are rank speculation stemming from a photograph supposedly showing the individual Defendants
 6    with that third party at some unspecified time. SACC ¶¶ 466–70. But even if Plaintiffs alleged
 7    plausible facts suggesting that Defendants “assisted, aided, abetted, and encouraged” that third
 8    party’s purported conduct in April and May 2018—and the SACC does no such thing—those
 9    allegations have no bearing on Plaintiffs’ naked “information and belief” allegations that
10    Defendants themselves executed trades on other cryptocurrency platforms on specific dates
11    months later that caused Plaintiffs’ losses.
12                   2.      Plaintiffs New Fraudulent Inducement Theories Are Implausible.
13           Apparently recognizing that they lack any basis for asserting that Defendants caused
14    Plaintiffs’ losses by executing trades on other platforms on specific dates, Plaintiffs pivot to a
15    new theory: that Plaintiffs suffered losses because Defendants fraudulently induced them to trade
16    on BitMEX. Specifically, Plaintiffs now claim—for the first time—that they were misled in two
17    respects. First, Plaintiffs claim that Section 6.3 of the BitMEX Terms of Service contained
18    misstatements and omissions regarding BitMEX’s so-called “Insider Trading Desk.” See, e.g.,
19    SACC ¶¶ 499–501 (Count I); 555–57 (Count III); 806–08 (Count XV); 866–68 (Count XVII).
20    Second, Plaintiffs assert that BitMEX’s website misrepresented material facts about BitMEX’s
21    “liquidity” as compared to other platforms. SACC ¶ 525 (Count II); 834 (Count XVI). These
22    new fraudulent inducement allegations now form the basis of nearly all of Plaintiffs’ claims. 7
23           These new theories fail. As a threshold matter, Plaintiffs’ pivot to a fraudulent
24

25           7
                Counts I-III and X-XII of the SACC assert CEA and RICO claims expressly predicated
      on these purported misrepresentations. And the vast majority of Plaintiffs’ California claims are
26    either predicated on these purported misrepresentations (Counts XV-XVIII (Fraud and Negligent
      Misrepresentation), Count XXI (California False Advertising Law), Counts XXII (California
27    Consumers Legal Remedies Act), Counts XXIII-XXV (California UCL)) or are entirely
      derivative of those direct, misrepresentation-based claims (Count XXVII (Restitution under
28    Quasi-Contract), Count XXVIII (Constructive Trust), Count XXIX (Accounting)).
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 1    inducement theory only after this Court rejected as implausible their prior market manipulation
 2    theory—the theory that served as the foundation for at least five iterations of Plaintiff BMA’s
 3    complaint—shows that Plaintiffs are running a shell game with this litigation. The Court granted
 4    Plaintiffs leave to amend based on Plaintiffs’ representations that they could allege additional
 5    facts “explain[ing] the basis of their alleged price manipulation scheme,” not for Plaintiffs to
 6    reimagine the foundation of their lawsuit altogether. Order 30 (emphasis added). By misleading
 7    the Court as to their basis for seeking leave to amend, Plaintiffs have only underscored that they
 8    are not operating in good faith in this case. Moreover, Plaintiffs’ bait-and-switch pleading tactics
 9    are expressly prohibited by the sham pleading doctrine, see Reddy, 912 F.2d at 296–97, and at the
10    very least, raise serious questions about the plausibility of Plaintiffs’ new allegations, see Royal
11    Primo Corp., 2016 WL 118196, at *3.
12           But even setting those problems aside, Plaintiffs fail to offer any plausible facts—let alone
13    facts with the requisite particularity under Rule 9(b), see Order 8—supporting their newfound
14    claims that they were induced to trade on BitMEX by misrepresentations contained on the
15    BitMEX website (including in the Terms of Service). In fact, Plaintiffs’ own complaint, the
16    materials upon which Plaintiffs rely, and other judicially noticeable documents confirm that these
17    allegations are entirely implausible. As a result, Plaintiffs’ fraudulent inducement claims—and
18    with them nearly Plaintiffs’ entire complaint (Plaintiffs’ negligence claim suffers from other
19    defects, see supra at Part IV.D.3)—must be dismissed.
20                           (a)     Plaintiffs Fail To Plead Plausible Facts Establishing That
                                     Anything In The BitMEX Terms Of Service Was False.
21

22           Plaintiffs first claim that the BitMEX Terms of Service contained misstatements and
23    omissions about what they archly label an “Insider Trading Desk.” Plaintiffs acknowledge that
24    when they deposited bitcoin with the BitMEX platform in late 2018 and mid-2019, Section 6.3 of
25    the Terms of Service disclosed that “HDR has a trading arm that, amongst other things, transacts
26    in products traded on the Trading Platform.” SACC ¶¶ 499, 555, 806, 866; see also id. Ex. 19
27    § 6.3. Plaintiffs nonetheless claim that this “express Warranty and Representation made by
28    Defendants … was, in fact, deliberately and materially false during the entire Relevant Period and
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 1    constituted a fraudulent solicitation of Plaintiffs’ bitcoins deposits and trading commissions by
 2    Defendants.” SACC ¶¶ 500, 556, 807, 867. For instance, Plaintiffs claim that while Section 6.3
 3    of the Terms of Service stated that HDR’s trading arm was “organised to be separate and distinct
 4    from the business of” the BitMEX platform, id. ¶ 505, in reality, the trading arm possessed what
 5    Plaintiffs call “God Access,” by which the trading arm had access to “all customer, order flow,
 6    execution and open position information of the entire BitMEX Trading Platform,” id. ¶ 500.
 7    Plaintiffs also claim that while the Terms of Service represented that HDR’s trading arm
 8    “receives access and trading privileges only on the same terms as are available to any other user,”
 9    id. ¶ 505, in reality, the trading arm “was not subject to server overload freezes and lockouts” that
10    occasionally occurred on the site, id. ¶ 501. And Plaintiffs otherwise claim that Defendants failed
11    to disclose alleged characteristics of HDR’s trading arm. Id. ¶¶ 559, 870.
12           These allegations amount to little more than a reframing of the same allegations, made
13    entirely on “information and belief” and without any particular facts providing the basis for that
14    belief, of the “price manipulation theory” discussed above in Part IV.A.1. Indeed, while Plaintiffs
15    have reframed their core fraud allegations with regards to the BitMEX Terms of Service, the basis
16    for those claims—that Defendants executed trades to Plaintiffs’ detriment on specific dates and
17    times—remains the same. For example, Plaintiffs appear to derive most of their allegations
18    regarding the trading arm’s purported “God Access” from Exhibits 1-3. See SACC ¶¶ 4–5, 17,
19    351, 362. But nothing in those exhibits—three blog posts from 2019 discussing how the lack of
20    regulation in the cryptocurrency space can result in price manipulation by third parties, all of
21    which were attached as Exhibits to the CC—supports Plaintiffs’ assertions in the SACC that the
22    operation of the trading arm did not accord with what was disclosed in the Terms of Service at
23    any time, let alone during the times Plaintiffs now claim they suffered losses. Indeed, to the
24    extent the Plaintiffs offer any additional allegations in support of their allegations, made on
25    “information and belief,” that Defendants’ trading activities caused Plaintiffs’ bitcoin losses,
26    those allegations are either conclusory, duplicative of the “means, motive, and opportunity”
27    arguments previously rejected by this Court, or both. See supra Part IV.A.1.
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                             (b)    The SACC Lacks Plausible Factual Allegations That The
 1                                  BitMEX Website Contained A Misrepresentation.
 2           Plaintiffs’ next theory of misrepresentation—that Defendants misled Plaintiffs because the
 3    BitMEX website stated that BitMEX provides “1500% More Bitcoin / USD liquidity than any
 4    other platform. BitMEX’s XBTUSD market is the most liquid in the world.”—fares no better.
 5    SACC ¶ 525. According to Plaintiffs, “by no later than October of 2018, BitMEX was overtaken
 6    by other crypto exchanges including Binance, Huobi and/or OKEX in terms of Bitcoin / USD
 7    liquidity.” SACC ¶ 527. In support of that new claim, Plaintiffs allege the following:
 8               For example, analysis of bid-ask spread data from the portion of the Relevant
                 Period when Defendants were using the representations in question, provided
 9               by OKEX cryptoderivative exchange has shown that Bitcoin / USD liquidity,
                 as determined by the average bid-ask spread, customarily used for measuring
10               liquidity on exchanges, was higher on OKEX (with bid-ask spread of -0.14%)
                 than on BitMEX (with bid-ask spread of -0.51%). Moreover, analysis of bid-
11               ask spread data from other exchanges further showed that, during the Relevant
                 Period, Bitcoin / USD liquidity on other bitcoin trading platforms such as
12               Binance was at least as high as liquidity on BitMEX.
13    Id. Thus, according to Plaintiffs, “Defendants’ claims of providing ‘1500% [or 16 times] more
14    Bitcoin / USD Liquidity than any other platform’ were grossly, materially and deliberately false
15    during the entire Relevant Period,” including “as of September or October of 2018, when they
16    were first made by Defendants.” Id. Plaintiffs’ newfound focus on this statement on the BitMEX
17    website—allegations absent from any prior iterations of Plaintiffs’ complaints—does nothing to
18    save Plaintiffs’ SACC for at least four reasons.
19           First, Plaintiffs plead no facts to support that the statement on the BitMEX website
20    referred to “bid-ask spread.” Rather, the statement—“1500% More Bitcoin / USD liquidity than
21    any other platform. BitMEX’s XBTUSD market is the most liquid in the world”—appeared
22    directly below figures reflecting the platform’s daily, monthly, and annual trading volume,
23    another and more widely used measure of liquidity. See SACC Ex. 20. Indeed, nothing on the
24    BitMEX website during May and June 2019 made any reference to “bid-ask” spread or any other
25    metric in connection with the statement that BitMEX offered “1500% More Bitcoin/USD
26    liquidity than any other platform.” And Plaintiffs’ own exhibits acknowledge that “[l]iquidity is a
27    subjective term.” SACC Ex. 3. Furthermore, users had real-time access to 24-hour volume
28    figures for each derivative product available on BitMEX via the trading interface, as well as other
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 1    indicators of market liquidity, including 24-hour open interest, the order book, and order book
 2    depth, all of which allowed users to constantly assess the market’s liquidity as they traded. See
 3    SACC Ex. 20. Plaintiffs cannot plead a material misrepresentation when they had full access and
 4    information to assess the statement themselves.
 5           Second, Plaintiffs fail to allege particular facts establishing that any representations on
 6    Defendants’ website were false when Plaintiffs claim to have deposited bitcoin with BitMEX.
 7    See Vess, 317 F.3d at 1106. The crux of Plaintiffs’ claim that BitMEX’s website contained a
 8    falsity is that the “average bid-ask spread” was “higher on OKEX (with bid-ask spread of -0.14%)
 9    than on BitMEX” during the “Relevant Period.” SACC ¶ 527. But even if the website’s
10    representation regarding liquidity was a reference to the “bid-ask spread,” as Plaintiffs claim—
11    and they plead no facts to support that supposition—the allegation that another platform’s
12    average bid-ask spread was higher than BitMEX’s for some period of time does not speak to
13    whether it was higher on the specific dates that Plaintiffs claim to have made deposits on
14    BitMEX. Here, despite claiming to have deposited bitcoin on BitMEX on just four dates over a
15    seven-month period—specifically, November 1, 2018 (Dolgov), November 14, 2018 (Razvan),
16    May 5, 2019 (BMA), and June 19, 2019 (Kolchin), see SACC ¶ 511— Plaintiffs’ “Relevant
17    Period” runs for more than three and a half years, from January 1, 2017 until October 1, 2020,
18    see SACC ¶ 175. Thus, even taking Plaintiffs’ new allegations regarding the “bid-ask spread” on
19    other exchanges during the Relevant Period as true, Plaintiffs still fail to plead any facts with the
20    requisite particularity establishing that any statement on the BitMEX website was false on the
21    specific dates Plaintiffs allege they were induced to deposit bitcoin or traded on BitMEX.
22           Third, and relatedly, this Court should not take Plaintiffs’ new allegations at face value
23    because they are directly contradicted by other judicially noticeable materials and the source upon
24    which Plaintiffs rely, and should therefore be disregarded. See Laws. Funding Grp., 2015 WL
25    13298145, at *5. As a first example, Plaintiffs claim that “by no later than October of 2018,
26    BitMEX was overtaken by other crypto exchanges including Binance, Huobi and/or OKEX in
27    terms of Bitcoin / USD liquidity and never regained its top position,” but those exchanges did not
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 1    begin offering perpetual swap contracts like those Plaintiffs allegedly traded until after that date. 8
 2           Moreover, as the Court is aware, Plaintiffs’ counsel is bringing claims based on
 3    substantially similar allegations to those at issue here in Kanyshev. After Judge Massullo
 4    dismissed Plaintiffs’ amended complaint in that case, Plaintiffs’ counsel filed another amended
 5    pleading—the quintessential example of a document subject to judicial notice, see Reyn’s Pasta
 6    Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006)—containing numerous
 7    allegations that are nearly identical to those made in Plaintiffs’ SACC, including allegations
 8    regarding OKEx’s “bid-ask spread” during the “Relevant Period.” Hibbard Decl., Ex. B
 9    (Kanyshev TAC). Yet, despite repeating almost verbatim the allegation contained in SACC
10    ¶ 527, the Kanyshev TAC’s “Relevant Period” is years shorter than in this case. Compare SACC
11    ¶ 175 (defining Relevant Period to be January 1, 2017 until October 1, 2020) with Kanyshev TAC
12    ¶ 161 (defining Relevant Period to be May 1, 2019 until August 31, 2019). The fact that
13    Plaintiffs allege identical so-called liquidity averages in both BMA and Kanyshev for two
14    drastically different time periods reflects that Plaintiffs’ allegations here are not tethered to any
15    well-pleaded facts and are instead based upon unsupported speculation.
16           That conclusion is bolstered by a review of the very “bid-ask spread data … provided by
17    OKEX cryptocurrency derivative exchange” that Plaintiffs rely upon, and thus incorporate by
18    reference, in the SACC. See SACC ¶ 527; Ritchie, 342 F.3d at 908. The data referenced by the
19    SACC comes from marketing materials published by OKEx on October 11, 2019. See Hibbard
20    Decl., Ex. C; see In re Facebook, Inc. Sec. Litig., 405 F. Supp. 3d 809, 831 (N.D. Cal. 2019)
21    (taking judicial notice of blog post). That post acknowledges “BitMEX’s dominance in” the
22    perpetual swap trading market space, that “BitMEX leads the crypto derivatives market in terms
23    of trading volume,” and that, during the time period evaluated, BitMEX’s trading volume was
24
             8
               See, e.g., Hibbard Decl., Ex. C (noting that “OKEx Perpetual swap is one of the most
25    popular derivative products that hit the market this year”—i.e., 2019); Hibbard Decl., Ex. D
      (describing Huobi’s 2020 product launch); Hibbard Decl., Ex. E (describing Binance’s August
26    10, 2020 launch of “Perpetual Futures contracts margined with Bitcoin,” and explaining that these
      products “will complement Binance’s broad variety of derivatives, including its first product,
27    USDT-margined perpetual futures” which it “[l]aunched nearly a year” prior in 2019). All of
      these online posts are subject to judicial notice for the reasons set forth in Defendants’
28    accompanying Motion for Judicial Notice.
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 1    more than 15x higher than OKEx’s. Id. (“In terms of trading volume, BitMEX beats OKEx
 2    with a remarkably high average of $159M, ranging from $29M to $682M; while OKEx’s volume
 3    averaged at $10M, ranging from $1M to $46M.”). But the post also touted that an analysis of the
 4    “6-mins-bid/ask-spread data from Aug. 15– 21, 2019 of OKEx and BitMEX” showed that
 5    “BitMEX’s spread varies from -5.5 to -0.5, and the average is -0.51; while OKEx’s spread varies
 6    from -8.8 to 0, with an average of -0.14”—the precise numbers reflected in Plaintiffs’ SACC.
 7           These numbers, however, reflect the bid-ask spread for only August 15–21, 2019 (dates
 8    which post-date the end-date for all of Plaintiffs’ deposits, SACC ¶ 512, and all but BMA’s
 9    losses, id.), not for the Relevant Period identified in this case (or in Kanyshev). Plaintiffs’
10    assertions to the contrary in the SACC should therefore be disregarded.
11           Fourth, Plaintiffs’ claim that Defendants misrepresented BitMEX’s “liquidity” with
12    regards to other exchanges is directly at odds with Plaintiffs’ own pleadings, including the
13    exhibits attached thereto. Notwithstanding their new allegations that BitMEX was “overtaken”
14    by other cryptocurrency exchanges by “no later than October of 2018” (SACC ¶ 527), the SACC
15    continues to allege facts establishing that during the time Plaintiffs claim to have traded, BitMEX
16    “remains the largest crypto exchange, by volume, in the world.” SACC ¶ 115; see also id. ¶ 179
17    (alleging that BitMEX “is consistently among the largest cryptocurrency derivatives traders by
18    volume and has been for years”). Those allegations are supported by Plaintiffs’ own exhibits,
19    including those published well after October 2018. For instance, Plaintiffs’ Exhibit 2—a blog
20    post published on July 19, 2019—touts BitMEX as “the king of crypto futures and one of the
21    most liquid exchanges on the market,” and acknowledges that “despite CME, Binance, OKEx,
22    and a handful of others, BitMEX still dominates the market.” SACC Ex. 2.
23                           (c)     Plaintiffs Still Do Not Plead A Viable Theory Of Reliance.
24           Finally, Plaintiffs’ fraud claims—and thus, nearly Plaintiffs’ entire complaint—fail
25    because Plaintiffs do not allege plausible facts establishing that they relied on any
26    misrepresentation or omission attributable to Defendants. As this Court observed, the CC’s
27    allegation (at ¶ 345) that Plaintiffs “rightfully assumed that the market conditions of spot bitcoin
28    and bitcoin derivatives markets were due to the actual market forces of supply and demand” was
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 1    predicated on a “fraud on the market theory” of reliance that has been rejected by the California
 2    Supreme Court. Order 27–28. Yet, Plaintiffs repeat that allegation in the SACC (at ¶¶ 418, 421).
 3    That allegation thus fails to establish reliance for the same reasons already articulated.
 4           Plaintiffs’ new theory of reliance fares no better. Nowhere in the CC did Plaintiffs allege
 5    that they relied on either the Terms of Service (including as to HDR’s trading arm) or the
 6    website’s statements regarding liquidity. Only after the Court rejected Plaintiffs’ “fraud on the
 7    market” theory of reliance did Plaintiffs allege, for the first time, that they relied on purported
 8    misstatements from the BitMEX Terms of Service and website. SACC Counts I, III, XI, XIII.
 9           Regardless, the SACC fails to set forth facts establishing that Plaintiffs reasonably relied
10    on the newly-alleged purported misrepresentations. The “reliance” element for a fraud claim
11    under both California and federal law is not satisfied “[i]f the conduct of the plaintiff in the light
12    of his own intelligence and information was manifestly unreasonable.” Hoffman v. 162 N. Wolfe
13    LLC, 228 Cal. App. 4th 1178, 1194 (2014) (quoting Seeger v. Odell, 18 Cal. 2d 409, 415 (1941));
14    see also Walrus Master Fund Ltd. v. Citigroup Glob. Mkts., Inc., No. 08 Civ. 2404, 2009 WL
15    928289, at *3 (S.D.N.Y. Mar. 30, 2009) (dismissing CEA claim on the pleadings when plaintiff
16    failed to “adequately plead[] justifiable reliance”). As noted, Plaintiffs’ allegations that
17    Defendants made misrepresentations regarding HDR’s trading arm are predicated upon blog posts
18    from 2019 and statements from unidentified “former employees” who worked at BitMEX during
19    unspecified time periods. While Defendants deny the existence of any misrepresentations,
20    Plaintiffs cannot demonstrate reasonable reliance when Plaintiffs simultaneously allege that the
21    “true nature” of the trading arm was publicly known long before Plaintiffs claim to have traded.
22           The same is true of Plaintiffs’ allegations regarding the statements on the BitMEX
23    website. Although Plaintiffs repeatedly allege that BitMEX did not offer “1500% more Bitcoin /
24    USD liquidity than any other platform,” Plaintiffs do not allege any facts showing that they relied
25    upon that statement prior to depositing bitcoin with BitMEX. Instead, Plaintiffs claim only that at
26    the time they deposited bitcoin, the “amount of available liquidity” was “highly material for each
27    Plaintiff’s decision” because that liquidity “determined the potential profits that Plaintiffs could
28    realize from cryptoderivative trading.” SACC ¶ 526 (emphasis added). In other words, Plaintiffs
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 1    relied upon the website’s statement that “BitMEX’s XBTUSD market is the most liquid in the
 2    world”—a statement which Plaintiffs do not appear to challenge as inaccurate and which the
 3    materials relied upon in Plaintiffs’ SACC confirm to be true. See supra Part IV.A.2.b. In any
 4    event, as noted above, Plaintiffs had real-time access to multiple indicators of liquidity on
 5    BitMEX at all times and were free to compare that information to that provided by any other
 6    exchange before depositing, let alone trading, on BitMEX. See supra Part IV.A.2.b. Plaintiffs’
 7    fraud claims therefore independently fail for lack of justifiable reliance.
 8           B.      Plaintiffs Still Lack Article III Standing to Pursue Their Claims.
 9           The Court dismissed Plaintiffs’ CC because Plaintiffs failed to demonstrate that they
10    possessed Article III standing. Order 15–16. The SACC suffers from that same defect.
11                   1.      Plaintiffs Still Have Not Plausibly Alleged That Defendants’ Conduct
                             Caused Their Bitcoin Losses.
12

13           Defendants previously showed that even if Plaintiffs pled facts to support that Defendants
14    executed trades on other platforms on the precise dates Plaintiffs claim to have suffered losses—
15    something that Plaintiffs still fail to do, see supra Part IV.A.1—“nothing in the Complaint makes
16    it plausible that those trades, as opposed to any other market factor or third-party trades, caused
17    plaintiffs’ losses.” Order 15. The Court agreed. “Even if plaintiffs were referring to defendants
18    when using the term ‘perpetrators’”—a claim that the Court deemed “disingenuous” in light of
19    Plaintiffs’ third-party focused allegations in the CC, id. at 13 n.6—“they do not plausibly explain
20    why they think that defendants were the perpetrators.” Id. at 15. “Without factual allegations that
21    plaintiffs’ claimed losses are ‘fairly traceable’ to defendants’ alleged conduct, as opposed to acts
22    by third parties or inherent market forces, Article III standing is insufficiently pleaded.” Id. at 16;
23    see also, e.g., In re Century Aluminum Co. Sec. Litig., 729 F.3d 1104, 1108 (9th Cir. 2013)
24    (“When faced with two possible explanations, only one of which can be true and only one of
25    which results in liability, plaintiffs cannot offer allegations that are merely consistent with their
26    favorite explanation but are also consistent with the alternative explanation.”). Plaintiffs’ SACC
27    attempts to address that ruling in two ways, neither of which satisfies Article III.
28           First, instead of adding “factual allegations” buttressing their claims that Defendants’
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 1    actions caused their losses, Plaintiffs simply delete some (but not all) of their prior allegations
 2    regarding the conduct of third party perpetrators. See Hibbard Decl. Ex. A ¶¶ 164–69, 173, 176
 3    (replacing “perpetrators” with “Defendants’ Insider Trading Desk”); ¶¶ 374, 387, 401, 721, 773
 4    (deleting references to “third party perpetrators”); ¶ 328 (altering allegations regarding platforms
 5    where Defendants purportedly traded to address the inconsistencies noted by the Court’s Order (at
 6    13 n.6)). Those changes do nothing to address the pleading deficiencies identified in the Court’s
 7    Order. Indeed, the Court has already held that “[e]ven if plaintiffs were referring to defendants
 8    when using the term ‘perpetrators’”—just as the SACC now claims—Plaintiffs still must plead
 9    plausible facts supporting that conclusion. Order 15–16. The SACC fails to do so.
10           Regardless, even after deleting references to the trading activities of other “perpetrators,”
11    the SACC continues to plead facts acknowledging that Plaintiffs’ losses are “the result of
12    independent action of some third party not before the court.” Order 15 (quoting Lujan v. Defs. of
13    Wildlife, 504 U.S. 555, 560 (1992)). Like the CC, the SACC and its exhibits still acknowledge
14    that cryptocurrency derivatives are “highly leveraged and volatile products,” SACC ¶ 185, and
15    that “manipulators [] have incentives” to exploit “the market structure that has evolved around
16    bitcoin.” SACC Ex. 3. And like the CC, the SACC still alleges that third parties engaged in price
17    manipulation. E.g., SACC ¶ 643 (“Defendants knew that BitMEX Leaderboard trader with
18    assumed name Quick-Grove-Mind was clearly a notorious market manipulator,” and that “Quick-
19    Grove-Mind … cause[d] large market price swings”); id. ¶¶ 468–69 (“Ben Aabtc” “‘pumped’
20    bitcoin market price” in 2018 by trading on “‘reference’ spot exchanges while maintaining an
21    open $30,873,844 Perpetual Swap position” on BitMEX). Because the SACC still does not
22    allege “facts tending to exclude the possibility that the alternative explanation”—that market
23    forces or third party conduct caused their losses—“is true,” Plaintiffs lack Article III standing to
24    pursue their claims. In re Century Aluminum Co. Sec. Litig., 729 F.3d at 1108.
25           Second, Plaintiffs attempt to trace their losses to Defendants’ alleged conduct by adding
26    two brand new categories of damages: “loss of use” and “trading commissions.” Specifically,
27    Plaintiffs claim that if they had not been fraudulently induced to trade on BitMEX by Defendants’
28    misrepresentations, they would have deposited their bitcoins “in interest-bearing accounts widely
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 1    available on the market, at the time, from reputable and financially stable companies including
 2    U.S.-based Celsius and BlockFi, which paid 5.95% APY on bitcoin deposits.” SACC ¶ 512.
 3    Plaintiffs also assert that because of Defendants’ so-called misrepresentations, they paid BitMEX
 4    “trading commissions,” which they claim “BitMEX charges traders … in connection with
 5    opening, maintaining and closing trading positions, irrespective of market moves or other events
 6    and irrespective of whether the position is profitable or not.” SACC ¶ 512 n.24.
 7           These newly claimed categories of “damages” do nothing to establish that Plaintiffs
 8    possess Article III standing and only confirm that this lawsuit is nothing more than an effort to
 9    turn Plaintiffs’ decision to trade famously volatile derivatives into a risk-free proposition. Even if
10    “loss of use” damages were recoverable under the causes of action asserted by Plaintiffs—and
11    they are not, see infra Part IV.D.1—Plaintiffs’ claim that they suffered these losses because of
12    Defendants’ conduct is entirely implausible. Indeed, just paragraphs before Plaintiffs claim that
13    they would have deposited their bitcoins “in interest-bearing accounts” if they did not trade on
14    BitMEX, Plaintiffs expressly allege that they were looking to “profit[] … from cryptoderivative
15    trading.” SACC ¶ 526 (emphasis added).
16           Plaintiffs’ so-called “trading commissions” damages fare no better, as they amount to a
17    “benefit of the bargain theory” of economic loss, i.e., that Plaintiffs “bargained for a product
18    worth a given value [here, trading cryptocurrency derivatives in exchange for a certain
19    commission] but received a product worth less than that value.” McGee v. S-L Snacks Nat’l, 982
20    F.3d 700, 705–06 (9th Cir. 2020). But Ninth Circuit law is clear that to establish Article III
21    standing under a “benefit of the bargain” theory, the “plaintiff must show that she did not receive
22    a benefit for which she actually bargained.” Id. at 706 (dismissing claim for lack of Article III
23    standing because “[a]bsent some allegation that [defendant] made false representations about [the
24    product], [plaintiff’s] benefit of the bargain theory falls short”). And here, Plaintiffs offer no
25    plausible facts establishing that they received anything other than what they were promised when
26    they were charged “trading commissions.” Rather, Plaintiffs sued because their positions were
27    liquidated on certain dates, allegedly due to Defendants’ trading on those same dates. Absent
28    those trading losses, they have no cause to complain. Yet, they fail to connect those trading
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 1    losses to Defendants. Plaintiffs simply have not pled any plausible facts establishing that
 2    Defendants made any misrepresentation regarding what Plaintiffs label as BitMEX’s “Insider
 3    Trading Desk” or relative “liquidity.” Plaintiffs therefore cannot point to the trading
 4    commissions they paid to trade on BitMEX as a valid “injury in fact” for Article III purposes.
 5                   2.      Plaintiff BMA Independently Lacks Standing Because It Still Has Not
                             Demonstrated That It Suffered an “Injury In Fact.”
 6

 7           This Court previously held that Plaintiff BMA lacked Article III standing because it failed
 8    to demonstrate that it “is seeking to vindicate its own rights, instead of those of its members.”
 9    Order 16. Despite being put on notice of this deficiency by the Court’s prior Order, and despite
10    having filed nine different iterations of its complaint (including proposed complaints, see ECF
11    Nos. 1, 6, 32, 45, 73-2, 97, 149, 150, 153), BMA still has not made any effort to remedy this
12    dispositive defect. All of BMA’s claims therefore fail for lack of Article III standing.
13           C.      Plaintiffs’ Federal Claims Remain Deficient in Multiple Additional Respects.
14           Even if Plaintiffs could clear the threshold hurdles identified above, Plaintiffs’ federal
15    claims fail because Plaintiffs still do not plead prima facie RICO and CEA claims.
16                   1.      The SACC Does Not Allege a Prima Facie RICO Claim.
17           The Court previously held that Plaintiffs’ RICO claims failed for three separate reasons:
18    Plaintiffs (1) lacked standing under Section 1964(c); (2) failed to plausibly allege “the existence
19    of a distinct enterprise, separate and apart from the general business of BitMEX”; and (3) failed to
20    allege plausible facts establishing that Defendants committed any RICO predicate offense. Order
21    16–21. All three of those deficiencies remain in the SACC.
22           First, Plaintiffs still do not allege plausible facts establishing that they possess statutory
23    standing under Section 1964(c). Like the CC, the SACC’s “allegations about defendants’ trader-
24    based manipulative conduct are made almost exclusively on ‘information and belief’ without
25    explanation of the basis for such beliefs or facts that would make their allegations plausible.” Id.
26    at 16–18; see supra Part IV.A.1. And while Plaintiffs also now assert RICO claims based upon
27    the purported misrepresentations on BitMEX’s website, as explained, Plaintiffs’ attempts to tie
28    those misrepresentations to their supposed bitcoin losses fail to satisfy Article III’s baseline
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 1    requirements, let alone “proximate causation under the heightened RICO standard.” Order 16.
 2           Second, the SACC confirms that Plaintiffs cannot allege the existence of a valid RICO
 3    enterprise. The SACC now purports to identify three separate RICO enterprises (SACC ¶ 337
 4    n.13): an “association and fact” [sic] enterprise (consisting of all named Defendants, SACC
 5    ¶¶ 337, 648), an “HDR Enterprise” (consisting of all Defendants except HDR, SACC ¶ 698), and
 6    an “ABS Enterprise” (consisting of all Defendants except ABS, SACC ¶ 751). But no matter
 7    which of these formulations is used, Plaintiffs’ allegations amount to “a corporation carrying out
 8    its own activities (even fraudulent ones) only through its agents and employees—the precise
 9    circumstance that does not constitute a RICO enterprise.” 9 Order 19.
10           Third, as before, Plaintiffs do not allege plausible facts establishing that Defendants
11    committed any RICO predicate offenses. While Plaintiffs assert that Defendants violated a wide
12    array of RICO predicates, all of those allegations depend on their claims that Defendants either
13    (a) engaged in market manipulation or (b) fraudulently induced them to trade on BitMEX. As
14    detailed supra, those overarching “specific acts … are insufficiently alleged.” Order 21.
15                   2.      The SACC Does Not Allege a Prima Facie CEA Claim.
16                           (a)     The Complaint Still Does Not Allege a CEA Market
                                     Manipulation Claim.
17

18           Plaintiffs’ SACC also still fails to plead a prima facie CEA claim for market manipulation
19    under Sections 6(c)(1) and 6(c)(3) of the CEA (Counts IV–VI). To make a prima facie case for
20    CEA market manipulation, Plaintiffs must plausibly plead that “(1) Defendants possessed an
21    ability to influence market prices; (2) an artificial price existed; (3) Defendants caused the
22    artificial prices; and (4) Defendants specifically intended to cause the artificial price.’” In re
23    Amaranth Nat. Gas Commodities Litig., 730 F.3d 170, 173 (2d Cir. 2013); see also Order 21–22.
24

25           9
                While Plaintiffs suggest elsewhere that Defendants acted “solely or together with other
      individuals, including a notorious and habitual market manipulator Ben Aabtc,” who “participated
26    in conduct of the Enterprise’s affairs through a pattern of racketeering activity,” SACC ¶ 346,
      Plaintiffs offer no facts in support of that conclusion. In any event, Plaintiffs do not even identify
27    Ben Aabtc as a member of any enterprise or allege that Ben Aabtc shared a common purpose with
      any enterprise, confirming that all of the purported “enterprises” here are not “separate and apart
28    from the general business of BitMEX.” Order 20.
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 1           Plaintiffs’ SACC contains the same shortcomings as the CC, and therefore cannot meet
 2    even the pleading burden imposed by Rule 8—much less Rule 9(b). 10 As detailed above,
 3    Plaintiffs still do not allege facts to support the conclusion that Defendants made any trades that
 4    had the ability to move cryptocurrency markets, let alone that Defendants intended to or did cause
 5    any artificial prices. And Plaintiffs still fail to support with anything more than information-and-
 6    belief conclusions their claim that Defendants’ alleged conduct caused their trading losses.
 7                           (b)     The Complaint Does Not Allege Any Prima Facie CEA
                                     Fraudulent-Inducement Claims.
 8

 9           Plaintiffs’ SACC adds three CEA claims based on alleged “fraudulent representations,
10    half-truths and omissions” that purportedly induced them to invest their money with BitMEX
11    (Counts I–III). To the extent these claims are even cognizable under 7 U.S.C. § 9(1), Plaintiffs
12    must allege: “(1) a material misrepresentation (or omission); (2) scienter; (3) a connection with
13    the purchase or sale of security; (4) reliance (transaction causation); (5) economic loss; and (6)
14    loss causation.” E.g., U.S. Commodity Futures Trading Comm’n v. Kraft Foods Grp., Inc., 153 F.
15    Supp. 3d 996, 1011 (N.D. Ill. 2015). And because fraudulent misrepresentation or omission
16    claims are subject to Rule 9(b), Plaintiffs’ allegations must “‘state with particularity’ … the who,
17    what, when, where, and how of the misconduct alleged.” Order 8.
18           Plaintiffs do not meet their burden. The SACC premises its CEA fraudulent inducement
19    claims on (1) the adequacy of the BitMEX Terms of Service’s disclosure of the alleged “Insider
20    Trading Desk,” SACC Counts I & III; and (2) statements on the BitMEX website regarding
21    market liquidity, SACC Count II. But the SACC fails to plead a misrepresentation, reliance, or
22    loss causation with the particularity required. See supra Parts IV.A.2, IV.B.1. Plaintiffs’
23    fraudulent inducement CEA claims fail for each of these reasons. See Dudley v. Dittmer, 795
24    F.2d 669, 672–73 (8th Cir. 1986) (“An action for fraud under the CEA requires a false
25    representation of material fact.”); Walrus Master Fund Ltd., 2009 WL 928289, at *3 (dismissing
26
             10
                Because Plaintiffs’ market manipulation claims sound in fraud (see, e.g., SACC ¶¶ 597,
27    612), they must be pleaded with particularity under Rule 9(b). In re London Silver Fixing, Ltd.,
      Antitrust Litig., 332 F. Supp. 3d 885, 921 (S.D.N.Y. 2018) (noting that “[m]arket manipulation
28    claims sounding in fraud must be pleaded with particularity in accordance with Rule 9(b)”).
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 1    CEA claim on the pleadings when plaintiff failed to “adequately plead[] justifiable reliance”);
 2    Harry v. Total Gas & Power N. Am., Inc., 889 F.3d 104, 111 (2d Cir. 2018) (plaintiff must
 3    establish “actual damages” to possess statutory standing under CEA).
 4           Additionally, Plaintiffs fail to adequately plead facts supporting an inference of scienter as
 5    to each Defendant. To adequately plead scienter under the CEA, Plaintiffs must allege “concrete
 6    facts to support [the] contention that [the defendant] intentionally and knowingly deceived the
 7    market.” Ploss v. Kraft Foods Grp., Inc., 197 F. Supp. 3d 1037, 1059 (N.D. Ill. 2016). “The
 8    factual allegations in the complaint must give rise to a strong inference of scienter.” Sonterra
 9    Cap. Master Fund, Ltd. v. Barclays Bank PLC, 366 F. Supp. 3d 516, 552 (S.D.N.Y. 2018). And
10    where multiple defendants are alleged to have committed fraud, Rule 9(b) requires Plaintiffs to
11    specifically allege the acts perpetrated by each defendant; they cannot “merely lump defendants
12    together.” Swartz, 476 F.3d at 764; In re Crude Oil Commodity Litig., No. 06 Civ. 6677, 2007
13    WL 1946553, at *6, *9 (S.D.N.Y. June 28, 2007) (dismissing CEA claims against corporate and
14    individual defendants because “‘lumping’ all defendants together” failed to satisfy Rule 9(b)).
15           Here, the SACC does not specify with any factual detail which Defendants had a role in
16    the misrepresentations or omissions alleged. Instead, Plaintiffs merely claim that “Defendants,”
17    generally, made these misrepresentations or omissions, and fail to allege facts that would support
18    an inference that any of the individual Defendants knew specific facts that would render the
19    alleged misrepresentations or omissions false or misleading. When stripped of its impermissible
20    information-and-belief and group-pleading allegations, the SACC does not contain any well-
21    pleaded factual detail supporting an inference that any of the individual Defendants committed
22    fraud, much less at the level of scienter required to satisfy Rule 9(b). 11
23           This pleading defect further serves to negate any strong inference of collective corporate
24    scienter. As the Second Circuit recently observed, “the ‘most straightforward’ way to raise a
25
             11
                 Plaintiffs’ vague claim that “a former high-ranking employee of BitMEX repeatedly
26    informed Defendants that the aforesaid representations regarding available liquidity on the
      BitMEX platform were in fact false,” SACC ¶ 537, offers none of the detail required to plead
27    fraud with particularity, as it is devoid of any specificity regarding the role of the employee, the
      specific timing of the alleged statements, or the individuals who allegedly heard them. See Order
28    18 n.10; see also Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 996–98 (9th Cir. 2009).
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 1    strong inference of corporate scienter is to impute it from an individual defendant who made the
 2    challenged misstatement.” Jackson v. Abernathy, 960 F.3d 94, 98 (2d Cir. 2020); see also In re
 3    Neurotrope, Inc. Sec. Litig., 315 F. Supp. 3d 721, 736 (S.D.N.Y. 2018) (similar). Like the
 4    allegations in Jackson, the SACC “provides no connective tissue” between any individual
 5    Defendant and the alleged fraudulent representations and omissions. See 960 F.3d at 99. Nor
 6    does the SACC allege any facts that make this an “exceedingly rare instance[]” where a
 7    “statement may be so ‘dramatic’ that collective scienter may be inferred.” Id. Plaintiffs’ CEA
 8    fraud claims therefore fail. 12
 9                            (c)       The Complaint Still Fails to State a Claim for Aiding and
                                        Abetting CEA Violations.
10

11            Although Plaintiffs continue to assert a claim (Count VIII) against Defendants for aiding
12    and abetting market manipulation perpetrated by a third party on March 13, 2020, they have done
13    nothing to correct the deficiencies that this Court identified in the CC. Just as in the CC,
14    Plaintiffs claim that on March 13, 2020, a BitMEX user named Quick-Grove-Mind “cause[d]
15    large market price swings.” SACC ¶ 643. And, just as in the CC, Plaintiffs further contend that
16    Defendants “aided and abetted” those market swings by (1) making available “extremely high
17    trading leverage,” (2) allowing Quick-Grove-Mind to “avoid detection by providing him with the
18    ability to open unlimited number of anonymous document check-free trading accounts,” and (3)
19    “taking BitMEX platform offline during market manipulation event on March 13, 2020.” Id.
20            Those allegations fail for the reasons this Court already identified. See Order 23–24.
21    First, BMA—the only Plaintiff who allegedly suffered a loss on March 13, 2020—lacks standing.
22    See supra Part IV.B.2. Second, Plaintiffs still fail to allege any facts to support their claim that
23    Quick-Grove-Mind engaged in market manipulation and instead continue to rely solely on the
24    “information and belief” allegation that Quick-Grove-Mind made a “$100,000,000 profit” during
25    so-called “market manipulation events”—an allegation of profitable trading that does not give
26    rise to a plausible inference of market manipulation. SACC ¶ 465; see also Order 23. Third,
27
              12
                Because Plaintiffs do not allege viable market-manipulation or fraudulent-inducement
28    claims, Plaintiffs’ claim for principal-agent liability (Count VII) also fails. Order 21–23.
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 1    Plaintiffs still do not plead any facts that raise a plausible inference that Defendants aided and
 2    abetted Quick-Grove-Mind’s supposed market manipulation. Instead, Plaintiffs leave
 3    unanswered questions raised with respect to the CC—namely who Quick-Grove-Mind is, see
 4    supra note 6, how that trader engaged in market manipulation, what Defendants knew about that
 5    trader, and what Defendants did to aid in the trader’s purported wrongdoing. Order 24. 13
 6           D.      Plaintiffs’ State Law Claims All Still Fail as a Matter of Law.
 7                   1.      All Of Plaintiffs’ Misrepresentation-Based Common Law Claims Fail.
 8           As noted, all of Plaintiffs’ common law fraud and misrepresentation claims fail because
 9    Plaintiffs have not plausibly alleged that they justifiably relied on any misrepresentation by
10    Defendants. Those claims also fail for lack of causation. It is well settled that under California
11    law, if a plaintiff’s “damages do not flow from the concealment” or misrepresentation, “but rather
12    from some other extrinsic factor,” the plaintiff has failed to establish proximate causation.” OCM
13    Principal Opportunities Fund, L.P. v. CIBC World Mkts. Corp., 157 Cal. App. 4th 835, 871
14    (2007). That is the case here. As already explained, Plaintiffs have failed to allege facts
15    establishing that their trading losses were caused by Defendants’ purported conduct, as opposed
16    to third party conduct or other market factors. In any event, both Plaintiffs’ “loss of use” and
17    “trading commissions” damages are implausible. See supra Part IV.B. And the latter are also
18    unrecoverable “benefit of the bargain” damages under California law. See Cal. Civ. Code § 3343;
19    see also Alliance Mortg. Co. v. Rothwell, 10 Cal. 4th 1226, 1240 (1995).
20                   2.      Plaintiffs’ California Statutory Claims All Fail.
21           Plaintiffs’ SACC adds new California statutory claims not found in prior iterations of the
22    complaint. Plaintiffs now allege standalone violations of both the FAL (Bus. & Prof. Code
23    § 17500) and the CLRA (Civ. Code § 1750) based on purported misstatements from the BitMEX
24    website. SACC Counts XXI & XXII. Plaintiffs also continue to assert UCL claims, although
25

26           13
                Plaintiffs allege in passing that Defendants aided and abetted Ben Aabtc in
      manipulating the market in violation of the CEA. SACC ¶ 472. This perfunctory allegation—not
27    expressly referenced in Count VIII—is insufficient because it (1) fails to connect any alleged
      manipulation to Plaintiffs’ alleged damages, (2) does not allege that Defendants knew about this
28    purported manipulation, and (3) fails to explain how each of Defendants supposedly aided.
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 1    those claims are now predicated on violations of the CLRA and FAL, the Federal Trade
 2    Commission Act (“FTCA”), and their claims that Defendants engaged in “unfair,” “fraudulent,”
 3    and “unlawful” business practices. See SACC XXIII–XXV. All of those claims fail.
 4                           (a)     Plaintiffs Lack Standing To Pursue Their FAL, CLRA, and
                                     UCL Claims.
 5

 6           To obtain relief under the CLRA, FAL, and UCL, a plaintiff must allege facts showing
 7    that she suffered harm because of the defendant’s statutory violation. See, e.g., Shaeffer v. Califia
 8    Farms, LLC, 44 Cal. App. 5th 1125, 1137 (2020). Plaintiffs here do not satisfy this threshold
 9    element. Like their fraud claims, Plaintiffs’ statutory claims are predicated upon purported
10    misrepresentations and omissions from the BitMEX Terms of Service, website, or otherwise. But
11    Plaintiffs offer no facts establishing that their purported reliance on those misrepresentations was
12    the cause of their purported losses. See supra Parts IV.A.2. Instead, the “gravamen” of
13    Plaintiffs’ claims is that, at some point, the price of bitcoin underlying the derivatives traded by
14    Plaintiffs decreased to an extent that caused Plaintiffs’ holdings to be liquidated. Thus, even if
15    the SACC could satisfy the other elements necessary to proceed on their statutory claims,
16    Plaintiffs’ failure to tie their bitcoin losses back to any conduct by Defendants bars those claims.
17                           (b)     Plaintiffs’ CLRA Claim Is Independently Deficient.
18           To prevail on a CLRA claim, a plaintiff must allege that the defendant represented that a
19    good or service “had any characteristic they do not have, or are of a standard or quality they are
20    not”—i.e., a misrepresentation or omission. See, e.g., Daugherty v. Am. Honda Motor Co., 144
21    Cal. App. 4th 824, 834 (2006). Plaintiffs’ CLRA claim here is predicated upon the same
22    purported misrepresentations underlying their fraud claims—that Defendants misrepresented facts
23    regarding HDR’s trading arm in its Terms of Service and BitMEX’s liquidity on its website.
24    SACC ¶¶ 926–34. As detailed above in Part IV.A.1, Plaintiffs fail to establish that Defendants
25    made any such misrepresentation. See also In re Seagate Tech. LLC Litig., 233 F. Supp. 3d 776,
26    790 (N.D. Cal. 2017) (“Plaintiffs must plead the falsity of affirmative representations with
27    specificity,” such as by identifying “other source[s] of information” revealing the true facts).
28    Moreover, “[g]eneralized, vague, and unspecified assertions constitute ‘mere puffery’ upon which
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 1    a reasonable consumer could not rely, and hence are not actionable” under the CLRA. Elias v.
 2    Hewlett-Packard Co., 903 F. Supp. 2d 843, 854–55 (N.D. Cal. 2012). Particularly as to
 3    BitMEX’s liquidity, Plaintiffs have not established that those statements are anything more than
 4    nonactionable puffery, let alone that they reasonably relied upon them. See supra Parts IV.A.2.
 5                           (c)    Plaintiffs’ FAL Claim Likewise Fails For Additional Reasons.
 6           As with the CLRA, a plaintiff cannot prevail under the FAL if the representation was true,
 7    see Consumer Advocs. v. Echostar Satellite Corp., 113 Cal. App. 4th 1351, 1360 (2003), or was
 8    mere “puffery” upon which a consumer could not reasonably rely, Anunziato v. eMachines, Inc.,
 9    402 F. Supp. 2d 1133, 1139–41 (C.D. Cal. 2005). Plaintiffs’ FAL claims are again predicated on
10    the same purported “untrue and misleading statements” regarding HDR’s trading arm and
11    BitMEX’s liquidity. SACC ¶ 923. Because Plaintiffs have not shown that those statements were
12    false or that Plaintiffs reasonably relied upon them, Plaintiffs’ standalone FAL claim fails.
13                           (d)    Plaintiffs’ UCL Claims Are Independently Deficient.
14           Plaintiffs allege a UCL violation in three separate counts, each predicated on one of the
15    statute’s prohibitions against “unlawful,” “unfair,” and “fraudulent” business practices. See
16    SACC Counts XXIII–XXV. Those claims fail for lack of standing, as discussed above.
17    Plaintiffs’ UCL claims are also independently deficient for the following reasons:
18           •   “Unlawful” UCL Claim. When a plaintiff bases a UCL claim on “unlawful
                 practices,” she must plead the predicate statutory violation with “reasonable
19               particularity.” Gutierrez v. Carmax Auto Superstores Cal., 19 Cal. App. 5th 1234,
                 1261 (2018); Khoury v. Maly’s of Cal., Inc., 14 Cal. App. 4th 612, 619 (1993) (same).
20               Plaintiffs purport to identify five such statutory predicates here: violations of RICO,
                 the CEA, the CLRA, and the FAL described above, as well as violations of the FTCA,
21               15 U.S.C. §§ 45(a)(1) and 52(a). SACC ¶¶ 960–64. But none of those statutes gives
                 rise to a valid UCL claim. As Plaintiffs do not allege prima facie claims under RICO,
22               the CEA, the CLRA, or FAL, their UCL claims predicated on those statutes
                 necessarily fail. And the FTCA “does not provide individuals with a private right of
23               action.” Nelson v. Am. Home Mortg. Servicing Inc., No. CV 10-4562, 2010 WL
                 3034233, at *2 (C.D. Cal. July 29, 2020). It therefore cannot serve as the statutory
24               predicate for a UCL claim, as Judge Massullo recognized. Kanyshev Order 11 (citing
                 Newton v. Am. Debt Servs., Inc., 75 F. Supp. 3d 1048, 1058 (N.D. Cal. 2014)).
25
             •   “Fraudulent Business Practices” UCL Claim. As in their CC, Plaintiffs also claim
26               a violation of the UCL’s “fraudulent business practices” prong that is entirely
                 dependent on the “[a]llegations of specific acts constituting fraud and deceit and fraud
27               by omission” set forth elsewhere in the complaint. SACC ¶ 953. Judge Massullo
                 previously rejected a substantially similar UCL claim on the grounds that plaintiffs
28               “have not adequately pleaded their fraud cause of action.” Kanyshev Order 12. That
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                  is the case here. Because Plaintiffs do not allege a valid cause of action for fraud, see
 1                supra Part IV.A, and because Plaintiffs’ “fraudulent business practices” UCL claim is
                  predicated on that same conduct, SACC ¶ 953, Plaintiffs’ UCL claim fails.
 2
             •    “Unfair” UCL Claim. Finally, Plaintiffs fail to assert a UCL claim predicated on that
 3                statute’s “unfair” prong. A practice is “unfair” under the UCL only when it is
                  “‘tethered’ to specific constitutional, statutory or regulatory provisions.” Nationwide
 4                Biweekly Admin., Inc. v. Super. Ct., 9 Cal. 5th 279, 303 n.10 (2020). For the reasons
                  discussed above, Plaintiffs do not satisfy that standard. Regardless, because the only
 5                “unfair” conduct purportedly engaged in by Defendants is either unconnected to
                  Plaintiffs’ purported losses or alleged solely on “information and belief” without any
 6                allegations supporting those beliefs, Plaintiffs’ “unfair” UCL claim fails. 14
 7                   3.      Plaintiffs’ Negligence Claim Still Fails.
 8           Plaintiffs now appear to advance two separate theories of negligence, neither of which has
 9    any merit. Plaintiffs first repeat the argument this Court has already rejected—that Plaintiffs and
10    Defendants had a “special relationship” giving rise to a duty to “maintain a functional crypto-
11    derivatives trading marketplace.” SACC ¶¶ 974, 981; cf. Order 24–27; Kanyshev Order 13.
12    Plaintiffs have not pled any new facts warranting a different outcome. Indeed, Plaintiffs simply
13    repeat their prior claim (still citing to In re Facebook, Inc. IPO Sec. & Derivative Litig., 986 F.
14    Supp. 2d 428, 461 (S.D.N.Y. 2013)) that “a special relationship between Defendants and
15    Plaintiffs existed in this case and Defendants owed a duty to Plaintiffs to maintain a functional
16    cryptoderivatives trading marketplace.” SACC ¶ 981. That argument should be rejected for the
17    same reasons already explained by this Court in its prior Order and by Judge Massullo.
18           Plaintiffs also appear to suggest that Defendants are liable for negligence because they
19    breached the Terms of Service offered on BitMEX by failing to provide Plaintiffs with “the
20    ability to place orders, open and close positions and use margin.” SACC ¶ 974. But California
21    law is clear that “conduct amounting to a breach of contract becomes tortious only when it also
22    violates a duty independent of the contract arising from principles of tort law. An omission to
23    perform a contract obligation is never a tort, unless that omission is also an omission of a legal
24    duty.” State Ready Mix, Inc. v. Moffatt & Nichol, 232 Cal. App. 4th 1227, 1231 (2015). 15 And
25
             14
                 Appellate courts are divided as to the proper test for evaluating the “unfair” prong of the
26    UCL. See Nationwide Biweekly Admin., 9 Cal. 5th at 303 n.10. Regardless of the test applied,
      Plaintiffs’ claim fails because they do not adequately allege that Defendants’ conduct caused their
27    alleged losses.
              15
28               See also Erlich v. Menezes, 21 Cal. 4th 543, 554 (1999) (“If every negligent breach of a
      contract gives rise to tort damages the limitation would be meaningless….”); N. Am. Chem. Co. v.
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 1    Plaintiffs’ argument that North American Chemical permits liability for “negligent breach of
 2    contractual duties owed directly to plaintiffs” has been squarely rejected. Aas v. Super. Ct., 24
 3    Cal. 4th 627, 643 (2000) (“The argument is not persuasive.”), superseded by statute on other
 4    grounds as stated in Rosen v. State Farm Gen. Ins. Co., 30 Cal. 4th 1070, 1079–80 (2003). As
 5    noted, Plaintiffs have not identified a duty independent from Defendants’ contractual obligations
 6    to maintain a functional marketplace. Nor could they, since BitMEX’s Terms of Service
 7    expressly state that “[i]t is [BitMEX’s] responsibility to maintain an orderly market.” SACC
 8    Ex. 15 § 1.11; Ex. 19 § 1.11. Thus, any tort claim based upon the failure to perform an obligation
 9    set forth in the Terms of Service necessarily fails. 16
10            Plaintiffs also fail to allege facts establishing that Defendants’ purported conduct caused
11    Plaintiffs’ losses. Plaintiffs’ SACC alleges for the first time that they sustained losses not
12    because of Defendants’ trading activity on other platforms on those three dates (as they claim
13    elsewhere), but instead because of “server freezes that occurred on June 27, 2019, July 14, 2019,
14    November 14, 2018 and November 25, 2018.” SACC ¶ 977. Whatever the SACC means by
15    “server freezes,” this allegation directly contradicts other causation allegations in the SACC and
16    in prior complaints without any explanation for that about face. Regardless, Plaintiffs plead no
17    factual allegations regarding server outages on those specific dates, let alone that Defendants
18    were to blame for those outages. In fact, the SACC alleges that “all hardware used by BitMEX
19    platform was managed by Amazon EKS and not Defendants themselves.” SACC ¶ 186.
20                    4.      Plaintiffs’ Conclusory Conversion Claim Fails.
21            Plaintiffs again allege that on the dates they purportedly suffered losses, Defendants
22    executed other trades on other platforms that impacted the price of Plaintiffs’ cryptocurrency
23

24    Super. Ct., 59 Cal. App. 4th 764, 774 (1997) (same).
              16
                 Moreover, HDR expressly disclaims liability for service interruptions and warns users
25    that the website is dependent on technical systems that may intermittently prevent access. The
      Terms of Service specifically provide that no warranties exist as to users’ trading activity or use
26    of the platform, including related service interruptions, and that users “assume full responsibility
      and risk of loss resulting from your use of the Service.” SACC Ex. 19 § 7.5. “By contractually
27    agreeing to assume all the risks of” trading on BitMEX, including the risk that Service may be
      interrupted, Plaintiffs “consented to certain acts or omissions … which [may] otherwise be
28    negligent.” Coates v. Newhall Land & Farming, Inc., 191 Cal. App. 3d 1, 10 (1987).
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 1    derivatives, which Plaintiffs claim resulted in Defendants taking Plaintiffs’ bitcoin and
 2    “convert[ing] the same to their own use.” SACC ¶¶ 632, 1007. But Plaintiffs’ “[a]llegations that
 3    defendants unlawfully dispossessed them of their property rely entirely on the fraud-based market
 4    manipulation allegations that plaintiffs have failed to plead with particularity.” Order 29. That
 5    holding applies with equal force to the SACC. Moreover, as Judge Massullo recognized, there is
 6    “no case law suggesting that a plaintiff can bring a conversion suit anytime a freely-undertaken,
 7    high-risk, high-reward investment turns out to be unsuccessful.” Kanyshev Order 14. Regardless,
 8    Plaintiffs’ conversion theory fails for lack of causation for the reasons already detailed above.
 9                   5.      Plaintiffs’ Remaining State Law Claims Cannot Stand Alone.
10           Plaintiffs’ claims for Restitution (Count XXVII), Constructive Trust (Count XXVIII), and
11    Accounting (Count XXIX) are nearly identical to those in the CC, except that the claim for
12    restitution has been retitled “Quasi-Contract” instead of “Unjust Enrichment.” As before, these
13    claims depend on the “implausible price manipulation” and fraudulent inducement theories
14    discussed above. See Order 28. Plaintiffs’ claims for aiding and abetting conversion (Count
15    XXXI) and under California Penal Code § 496 (Count XXXIII) likewise depend, by their own
16    terms, on Plaintiffs’ already dependent conversion claim. 17 Plaintiffs’ supposed claim for a “Writ
17    of Replevin” (Count XXXII), SACC ¶ 1022, also collapses into the claim for conversion. See
18    Foster v. Sexton, 61 Cal. App. 5th 998, 1020 (2021). And finally, bitcoin—the remedy sought via
19    replevin—cannot be recovered in a conversion action because it is not tangible property. See Ox
20    Labs Inc. v. Bitpay, Inc., 848 Fed. App’x 795, 796 (9th Cir. 2021).
21    V.     CONCLUSION
22           For the foregoing reasons, this Court should dismiss the SACC with prejudice.
23

24
             17
                 California Penal Code § 496(a) requires that the defendant purchased or received
25    “property that has been stolen or that has been obtained in any manner constituting theft or
      extortion.” (emphasis added); see Instant Brands, Inc. v. DSV Sols., Inc., No. EDCV 20-399,
26    2020 WL 5947914, at *4 (C.D. Cal. Aug. 20, 2020) (The “legislative history and intent” behind
      California Penal Code § 496 confirms that this statute was “solely intended to create civil liability
27    for the receipt or withholding of stolen property.”). Here, not only was there no conversion, but
      Plaintiffs allege Defendants converted their bitcoin, not that Defendants received that property
28    from others.
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 1     DATED: June 21, 2021                  Respectfully submitted,
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                                                      NOTICE OF MOT. AND MOT. TO DISMISS
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 1            I, Stephen D. Hibbard, am the ECF User whose ID and password are being used to file
 2    this DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
 3    SECOND AMENDED CONSOLIDATED COMPLAINT; MEMORANDUM OF POINTS AND
 4    AUTHORITIES IN SUPPORT THEREOF. In compliance with Civil L.R. 5-1(i)(3), I hereby
 5    attest that all signatories concur in this filing.
 6    DATED: June 21, 2021
 7
                                                                /s/ Stephen D. Hibbard
 8                                                              STEPHEN D. HIBBARD
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                                                                         NOTICE OF MOT. AND MOT. TO DISMISS
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